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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 WESTINGHOUSE AIR BRAKE
 TECHNOLOGIES CORPORATION
 (d/b/a WABTEC CORPORATION),

                       Plaintiff,                      C.A. No. 17-1687 (LPS) (CJB)

        v.

 SIEMENS INDUSTRY, INC.,

                       Defendant.

                                       NOTICE OF SERVICE

        PLEASE TAKE NOTICE that on August 29, 2018 true and correct copies of Plaintiff

 Westinghouse Air Brake Technologies Corporation (d/b/a Wabtec Corporation)’s List of

 Proposed Constructions for Claim Terms Previously Identified for Construction were served via

 electronic mail upon the following:

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                                    [Signature page to follow.]
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 Dated: August 30, 2018                        K&L GATES LLP

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